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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  STATE OF CALIFORNIA, by and through
  Attorney General Xavier Becerra, STATE OF
  OREGON, by and through Attorney General
  Ellen F. Rosenblum, and STATE OF
  MINNESOTA, by and through Attorney
  General Keith Ellison,
                                                     Case No. 19-960
                                      Plaintiffs,

             v.
                                                     COMPLAINT FOR DECLARATORY
                                                     AND INJUNCTIVE RELIEF
  DONALD J. TRUMP, President of the
  United States of America; MICK
  MULVANEY, Director of the Office of
  Management and Budget; RICK PERRY,
  Secretary of Energy, U.S. Department of
  Energy; ELAINE L. CHAO, Secretary of
  Transportation, U.S. Department of
  Transportation; R. ALEXANDER ACOSTA,
  Secretary of Labor, U.S. Department of
  Labor; DAVID BERNHARDT, Acting
  Secretary of the Interior, U.S. Department of
  the Interior; ANDREW WHEELER,
  Administrator, U.S. Environmental Protection
  Agency; and ALEX M. AZAR II, Secretary
  of Health and Human Services, U.S.
  Department of Health and Human Services,

                                    Defendants.




                                      INTRODUCTION

      1.    The State of California, by and through its Attorney General Xavier Becerra, the

State of Oregon, by and through its Attorney General Ellen F. Rosenblum, and the State of

Minnesota, by and through its Attorney General Keith Ellison (together, Plaintiff States), bring

this action for declaratory and injunctive relief to challenge (1) Executive Order 13771

(“Reducing Regulation and Controlling Regulatory Costs,” hereinafter Order), dated January 30,



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2017 and published in the Federal Register on February 3, 2017 (82 Fed. Reg. 9,339); and (2) the

Office of Management and Budget’s (OMB) interim guidance to assist agencies in implementing

the Order, dated February 2, 2017, and final guidance, dated April 5, 2017 (together, Guidance).

The Order and Guidance are in effect, and agencies are complying with them.

      2.    The Order’s core requirement is that an agency fully offset the cost of any new

regulation by repealing at least two existing regulations that impose equal or greater costs. For

purposes of complying with the Order, agencies are not to consider the public benefits of either

the new or existing regulations in their accounting, just the costs. The Order also imposes an

annual, agency-specific “incremental cost” cap, which limits the cumulative cost of an agency’s

regulatory portfolio.

      3.    Past Executive Orders have required agencies to “consider” or analyze the economic

impacts of a proposed rule, or to review their regulations to identify potentially outdated

regulations. This Order is distinct in that it requires that agencies repeal at least two regulations,

outdated or not, to fully offset the cost of a new regulation. The Order further purports to

authorize the OMB to block agency rulemakings not in compliance with the Order’s mandates.

      4.    These actions exceed the President’s constitutional authority, violate the separation

of powers doctrine and the President’s duty under the “Take Care” clause, and are generally ultra

vires. In issuing the Guidance to implement the Order, the OMB acted in excess of statutory

jurisdiction, among other things, in violation of the Administrative Procedure Act (APA). 5

U.S.C. § 706. In complying with the Order, OMB, Department of Energy, Department of

Transportation, Department of Labor, Department of Interior, Environmental Protection Agency,

and Department of Health and Human Services (together referred to as “Agency Defendants”)

have acted in excess of their statutory jurisdiction pursuant to, among other things, the APA.




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      5.     The Order and Guidance cannot lawfully be enforced under any circumstances.

While agencies generally have authority to rescind or repeal obsolete or unnecessary regulations

(provided they satisfy the requirements of their governing statutes and/or the APA), an agency

would be in violation of its statutory mandate(s) were it to take any action—or to not take action,

as the case may be—to comply with the Order, and neither the President nor the OMB can

require it to do so.

      6.     Plaintiff States have quasi-sovereign and proprietary interests in effective and robust

federal rulemaking to protect the health and well-being of, among other things, their citizens,

natural resources, infrastructure, institutions, and economies. In addition, Plaintiff States have

substantive and procedural interests in ensuring that members of the federal executive branch

respect the bounds of their constitutional and statutory authority and do not hamstring agencies’

ability to execute Congressional mandates. In issuing and implementing the Order and Guidance,

the President and OMB, respectively, acted beyond the scope of their authority. As a result,

numerous federal regulations addressing matters of public health, safety, welfare, and the

environment have been and will continue to be revised, delayed, withdrawn, or repealed by

agencies, including the Agency Defendants, to comply with the Order’s arbitrary mandates, and

new rules will be delayed or not proposed at all. This deprives Plaintiff States of the benefits

those regulations would have provided, in some instances leaving them exposed to harms they

may be unable to adequately address themselves.

      7.     The Order and Guidance are unlawful on their face. Implementation, enforcement

of, and compliance with the Order and Guidance should be enjoined, and the Order and

Guidance should be set aside.




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                                  JURISDICTION AND VENUE

      8.    Jurisdiction lies in this Court pursuant to 28 U.S.C. § 1331 (action arising under the

laws of the United States). This Court also has jurisdiction under the APA, 5 U.S.C. §§ 701-706.

An actual controversy exists between the parties within the meaning of 28 U.S.C. § 2201(a), and

this Court may grant declaratory relief, injunctive relief, and other relief pursuant to 28 U.S.C.

§§ 2201-2202 and 5 U.S.C. §§ 705-706.

      9.    Venue is proper in this district because a substantial part of the events or omissions

giving rise to the claim occurred in this district, insofar as Plaintiff States seek relief against

federal officials acting in their official capacities. 28 U.S.C. § 1391(e)(1).

                                              PARTIES

I.    PLAINTIFFS


      10.   The State of California is a sovereign state in the United States of America. The

State of California brings this action by and through Attorney General Xavier Becerra. The

Attorney General is the chief law officer of California (Cal. Const., art. V, § 13), and is

authorized to file civil suits directly involving the state’s rights and interests or deemed necessary

by the Attorney General to protect public rights and interests. Cal. Gov’t Code § 12511; Pierce v.

Super. Ct., 1 Cal.2d 759, 761-62 (1934). This challenge is brought pursuant to the Attorney

General’s independent constitutional, statutory, and common law authority to bring suit and

obtain relief on behalf of the State of California.

      11.   The State of Oregon is a sovereign state in the United States of America. The State

of Oregon brings this action by and through its Attorney General, Ellen F. Rosenblum, its chief

legal officer. Or. Rev. Stat. § 180.210. Her powers and duties include acting in federal court on

matters of public concern to Oregon. Or. Rev. Stat. § 180.060(1)(d)).


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      12.    The State of Minnesota is a sovereign state in the United States of America. Attorney

General Keith Ellison brings this action on behalf of Minnesota to protect the interests of

Minnesota and its residents. The Attorney General’s powers and duties include acting in federal

court in matters of State concern. Minn. Stat. § 8.01. The Attorney General has the authority to

file suit to challenge action by the federal government that threatens the public interest and

welfare of Minnesota residents and to vindicate the State’s sovereign and quasi-sovereign

interests.

      13.    Plaintiff States have special solicitude to sue in matters in matters involving harm to

their quasi-sovereign interests, which interests include their territories and “all the earth and air

within [their] domain.” Massachusetts v. EPA, 549 U.S. 497, 519 (2007), citing Georgia v.

Tennessee Copper Co., 206 U.S. 230, 237 (1907). Plaintiff States also have parens patriae

standing to bring suit against executive agencies to protect the interests of their citizens. See, e.g.,

Texas v. United States, 86 F. Supp. 3d 591, 625 (S.D. Tex. 2015) aff’d, 809 F.3d 134 (5th Cir.

2015), as revised (Nov. 25, 2015) (“Parens patriae permits a state to bring suit to protect the

interests of its citizens, even if it cannot demonstrate a direct injury to its separate interests as a

sovereign entity.” (citing Snapp, 458 U.S. at 601)).


II.   DEFENDANTS


      14.    Defendant Donald J. Trump is President of the United States. President Trump

issued the Order challenged in this complaint. Plaintiff States sue President Trump in his official

capacity.

      15.    Defendant Mick Mulvaney is the Director of the OMB (Director) and OMB’s

highest-ranking official. The Director is charged with the supervision and management of all

actions of the OMB, including execution of the mandates set forth in the Order. Plaintiff States


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sue Director Mulvaney in his official capacity. The OMB is an office within the Executive Office

of the President (31 U.S.C. § 501) and an agency within the meaning of the APA. 5 U.S.C. §

551(1).

      16.   Defendant Rick Perry is the Secretary of Energy and the highest ranking official of

the U.S. Department of Energy (DOE). He is charged with the supervision and management of

all decisions and actions of that agency. Plaintiffs sue Secretary Perry in his official capacity.

DOE is an agency within the meaning of the APA.

      17.   Defendant Elaine L. Chao is the Secretary of Transportation and the highest ranking

official of the U.S. Department of Transportation (DOT). She is charged with the

supervision and management of all decisions and actions of that agency. Plaintiffs sue Secretary

Chao in her official capacity. DOT is an agency within the meaning of the APA.

      18.   Defendant David Bernhardt is the Acting Secretary of the Interior and the highest-

ranking officer in the Department of the Interior. He is charged with the supervision and

management of all decisions and actions of that agency. Plaintiffs sue Acting Secretary

Bernhardt in his official capacity. The Department of the Interior is an agency within the

meaning of the APA.

      19.   Defendant R. Alexander Acosta is the Secretary of Labor, U.S. Department of Labor

(DOL), and DOL’s highest-ranking officer. He is charged with the supervision and management

of all decisions and actions of that agency. Plaintiffs sue Secretary Acosta in his official capacity.

DOL is an agency within the meaning of the APA.

      20.   Defendant Andrew Wheeler is the Administrator of EPA and the agency’s highest

ranking official. He is charged with the supervision and management of all decisions and actions




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of that agency. Plaintiffs sue Administrator Pruitt in his official capacity. EPA is an agency

within the meaning of the APA.

       21.   Defendant Alex M. Azar II is the Secretary of Health and Human Services, U.S.

Department of Health and Human Services (HHS), and HHS’s highest-ranking officer. He is

charged with the supervision and management of all decisions and actions of that agency.

Plaintiffs sue Secretary Azar in his official capacity. HHS is an agency within the meaning of the

APA.


                                             BACKGROUND

I.     SCOPE OF EXECUTIVE POWER


       22.   The President purports to have issued the Order “by the authority vested in me as the

President by the Constitution and the laws of the United States of America, including the Budget

and Accounting Act of 1921, as amended (31 U.S.C. § 1101, et seq.), section 1105 of title 31,

United States Code, and section 301 of title 3, United States Code.”

       23.   The Constitution vests executive power in the President. U.S. Const., art. II, § 1. The

primary function of the President is understood to be cabined in the “Take Care” clause: “[H]e

shall take care that the laws be faithfully executed.” U.S. Const., art. II, § 3. The President’s

additional powers and duties are specifically enumerated in sections 2 and 3 of Article II. None

of those additional powers and duties can be construed to authorize the President to condition an

agency’s ability to exercise its statutory rulemaking authority on the requirement that it offset the

private cost of any new rule by repealing at least two existing rules and/or consider the cost of

the new rule in isolation of its benefits.

       24.   The Budget and Accounting Act of 1921 (31 U.S.C. § 1101, et seq.) addresses

government spending. No provision of the Budget and Accounting Act can be construed to


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authorize the President to condition an agency’s ability to exercise its statutory rulemaking

authority on the requirement that it offset the private cost of any new rule by repealing at least

two existing rules and/or consider the cost of the new rule in isolation of its benefits.

      25.    The President specifically cited 31 U.S.C. section 1105 as a basis of authority to

issue the Order. Section 1105 provides that, at the beginning of each calendar year, the President

“shall submit a budget of the United States Government for the following fiscal year” that

includes a number of listed items. Nothing in section 1105 can be construed to authorize the

President to condition an agency’s ability to exercise its statutory rulemaking authority on the

requirement that it offset the private cost of any new rule by repealing at least two existing rules

and/or consider the cost of the new rule in isolation of its benefits.

      26.    3 U.S.C. section 301, which the President cited as another basis for his authority to

issue the Order, does not authorize the President to condition an agency’s ability to exercise its

statutory rulemaking authority on the requirement that it offset the private cost of any new rule

by repealing at least two existing regulations and/or consider the cost of the new regulation in

isolation of its benefits.

      27.    The President does not have, under the Constitution or otherwise, an undefined

“inherent” power, even in “emergency” circumstances. Youngstown Sheet & Tube Co. v. Sawyer,

343 U.S. 579 (1952).

      28.    The President cannot delegate authority he does not have. 3 U.S.C. § 301.

      29.    The President may issue Executive Orders to manage the internal operations of the

federal government, including to direct agencies to exercise their regulatory discretion consistent

with priorities of the administration. Executive Orders have the force of law.




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      30.   The President cannot direct an agency, by Executive Order or otherwise, to take any

action that would violate a Constitutional or statutory mandate, or otherwise run afoul of

Congressional intent.


II.   THE POWERS AND DUTIES OF THE OFFICE OF MANAGEMENT AND BUDGET

      31.   The powers and duties of the OMB are limited by statute, and largely relate to

assisting in development and administration of the federal budget. Those powers include

“establish[ing] governmentwide financial management policies for executive agencies” and

“[r]eview[ing] and, where appropriate, recommend[ing] to the Director changes to the budget

and legislative proposals of agencies to ensure that they are in accordance with financial

management plans of the [OMB].” 31 U.S.C. § 503(a).

      32.   Congress has also directed the OMB to “coordinate with agencies to develop priority

goals to improve the performance and management of the Federal Government,” including

“outcome-oriented goals covering a limited number of crosscutting policy areas.” 31 U.S.C.

§ 1120(a)(1)(A). The statute also sets forth the process by which agencies are to develop their

own priority goals. The OMB, however, is given no role in developing the priority goals of

individual agencies; its role is limited to coordinating that process among agencies: “The

Director of the Office of Management and Budget shall determine the total number of agency

priority goals across the Government, and the number to be developed by each agency.” Id. at

§ 1120(b)(1).

      33.   Nothing in these authorities, or any other authority, can be construed to authorize the

OMB to preclude a federal agency from promulgating a regulation or to condition an agency’s

ability to exercise its statutory rulemaking authority on the requirement that it offset the private




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cost of any new rule by repealing at least two existing rules and/or consider the cost of the new

rule in isolation of its benefits.


III. ADMINISTRATIVE RULEMAKING

      34.    Administrative agencies are creatures of statute and have only such power and

authority as are conferred upon them by statutory enactment. One mechanism by which agencies

exercise their statutory authority and/or accomplish their legislative goals is by promulgating and

implementing regulations.

      35.    Federal agencies are generally required to undertake reasoned and evidence-based

decision-making when exercising their delegated authority to promulgate rules. The APA, for

one, provides that a reviewing court shall “(1) compel agency action unlawfully withheld or

unreasonably delayed; and (2) hold unlawful and set aside agency action, findings, and

conclusions found to be … arbitrary, capricious, an abuse of discretion, otherwise not in

accordance with law; contrary to constitutional right, power, privilege, or immunity; or in excess

of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706.

      36.    It follows that “[t]he process by which [an agency] reaches [a] result must be logical

and rational.” Allentown Mack Sales & Service, Inc. v. NLRB, 522 U.S. 359, 374 (1998). Further,

agency action is lawful only if it rests “on a consideration of the relevant factors.” Motor Vehicle

Mfrs. Assn. v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 42 (1983). An agency must consider

the factors that Congress has directed it to consider, and cannot “rel[y] on factors which

Congress has not intended it to consider.” Id. at 43.

      37.    A number of legal authorities, including enabling statutes and Executive Order

12866, require agencies to weigh the relative costs and benefits of a proposed regulation before

promulgating it. These requirements are consistent with agencies’ existing duty to make rational



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regulatory decisions based on their review of the relevant data and any statutory Congressional

directives.

      38.     No statute authorizes or permits an agency to consider the number of total

regulations in an agency’s regulatory portfolio, or the cumulative cost of those regulations, in

evaluating the necessity or wisdom of an additional regulatory measure.


IV.   STATES’ RELIANCE ON FEDERAL REGULATION

      39.     Plaintiff States have proprietary interests in ensuring that agencies of the federal

government perform their statutory duties to regulate in matters directly impacting states’

sovereign territory and natural resources, institutions, and infrastructure.

      40.     Further, Plaintiff States have quasi-sovereign interests independent of and behind the

titles of their citizens in all the earth and air within their domains and in the health and well-

being, both physical and economic, of their citizens, which interests are similarly impacted by

the federal government’s performance of its statutory duties to regulate. While States retain

significant powers under our federal system of government, on entering the Union, Plaintiff

States “surrender[ed] certain sovereign prerogatives” which “are now lodged in the Federal

Government.” Massachusetts v. EPA, 549 U.S. 497, 519 (2007). In keeping with the federal

government’s end of the bargain, Congress orders agencies to achieve certain legislative goals

for the benefit of all states, including Plaintiff States. Agencies fulfill these statutory mandates by

promulgating and enforcing regulations. The need for updated or new regulations is driven by

external factors such as population growth, climate change, and technological innovation that do

not cease to occur in deference to a political desire to deregulate to reduce private costs without

consideration of public benefits. Thus, the Order and Guidance’s direct interference with

agencies’ performance of their obligations is harming Plaintiff States’ interests.



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      41.   One function federal regulation often serves is to create a regulatory “floor” to

protect public health and the environment and to safeguard against a race to the bottom among

states and other regulatory jurisdictions. For example, by imposing standards that limit the

amount of certain air pollutants a new, modified or reconstructed source can emit, section 111 of

the Clean Air Act both serves to reduce pollution and to set a level playing field for a particular

source category (e.g., Portland cement plants, bulk gasoline terminals) across the country.

Without such federal standards setting the floor, Plaintiff States would be forced to decide

whether to provide that basic level of protection for public health, safety, and the environment on

their own, or to forego such protections in the hopes that less regulation would attract a given

industry.

      42.   Where Congress expressly preempts state authority or enacts comprehensive

legislation occupying an entire field, states must rely on the federal agencies to implement the

will of Congress through the adoption of regulations. Thus, for example, regulation of securities

and commodities exchanges, regulation of employee benefit plans, and the issuance and

regulation of patents, trademarks, and copyrights lie almost exclusively with the federal

government.

      43.   Even where a state is not preempted from regulating, in other instances, the scope of

states’ regulatory jurisdiction may not be sufficient to fully address issues that pose a significant

threat to the health and well-being of their citizens, natural resources, infrastructure, institutions,

and economies. The emission of greenhouse gases (GHG) is one example. GHGs emitted in

other states accumulate in the atmosphere and contribute directly to an array of climate change

impacts in Plaintiff States. Where Congress has directed federal agencies to enact regulations

reducing such emissions on a nationwide basis, and those agencies fail to adopt regulations




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implementing that directive, Plaintiff States are harmed. See Massachusetts, supra, 549 U.S. at

521.

       44.   Plaintiff States also have a particular interest in federal rulemaking to the extent

federal regulations may directly impact state lands and natural resources or touch on the state’s

management of those resources. For example, the quality and quantity of freshwater available in

downstream states depends in large part on the management of water resources in upstream

states, which is governed in large part by regulations under the federal Clean Water Act.

Similarly, a state’s air resources may be adversely impacted by pollutants emitted in neighboring

states, a harm the downwind state may be unable to adequately address.

       45.   Further, each of Plaintiff States has federally managed lands within their territory,

and federal-agency management of those lands has spillover impacts on neighboring state lands.

In California, more than 46 million acres, or nearly 46% of the state, are administered by the

federal government. More than 32.6 million acres of Oregon’s land, which is over half the state,

is administered by the federal government. In Minnesota, the federal government administers

over 3.4 million acres. Plaintiff States may be directly impacted by rules promulgated and

enforced by the federal agencies responsible for those intra-state federal lands. For example, the

development of fossil fuel resources on federal lands causes air and water pollution that impacts

not only the federally-managed lands where the activity occurs, but also surrounding state lands.

       46.   As key participants in a federal system, Plaintiff States also have an interest in

ensuring that the federal government, and each of its branches, acts within the defined bounds of

its constitutional authority—just as states must act within the bounds of their authority—and they

have a concomitant legal right not to be injured by ultra vires executive action. This is




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particularly true in matters implicating the administration of federal rules on which Plaintiff

States rely to protect their proprietary and quasi-sovereign interests.


V.    EXECUTIVE ORDER 13771 AND OMB’S GUIDANCE MEMORANDA

      47.   President Trump signed Executive Order 13771 (“Reducing Regulation and

Controlling Regulatory Costs”) on January 30, 2017. 82 Fed. Reg. 9,339. The Order cited the

Constitution, the Budget and Accounting Act of 1921 (31 U.S.C. 1101, et seq., and specifically §

1105), and 3 U.S.C. § 301 as the bases of the President’s authority.

      48.   The stated purpose of the Order is to manage the private costs of complying with

federal regulations: “In addition to the management of the direct expenditure of taxpayer dollars

through the budgeting process, it is essential to manage the costs associated with the

governmental imposition of private expenditures required to comply with Federal regulations.”

Sec. 1. The Order then states, in relevant part, “Toward that end, it is important that for every

one new regulation issued, at least two prior regulations be identified for elimination.” Id.

      49.   For Fiscal Year (FY) 2017, the Order set forth two separate mandates. The first was

that an agency must repeal two regulations for each new regulation it promulgates. Sec. 2(a). The

second is that the agency must ensure that the total “incremental cost” of all new and repealed

regulations is no greater than zero. Sec. 2(b).

      50.   The requirements were essentially the same for FY 2018 and beyond: the cost of any

new regulation must “be offset by the elimination of existing costs associated with at least two

prior regulations.” Sec. 3(a) (referencing the requirements set forth in Section 2(c)).

      51.   The Order also directs the OMB to establish an annual, agency-specific “incremental

cost” cap, which limits the cumulative cost of the agency’s regulatory portfolio. For 2018, the




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caps varied by agency from zero to negative $196 million in annualized costs. 1 The cap may be

adjusted from year to year.

      52.   On February 2, 2017, the OMB issued “Interim Guidance Implementing Section 2 of

the EO of January 30, 2017.” It issued the final “Guidance Implementing Executive Order

13771” on April 5, 2017. The final guidance states that it is consistent with the interim guidance,

but clarifies that where there is a conflict between the two memoranda, the final guidance

supersedes the interim guidance.

      53.   The Order does not require that there be a nexus between the proposed regulation

and the two regulations proposed for repeal, other than that the saved costs of the latter offset the

cost of the former. With OMB approval, offsets can even be transferred between agencies.

Neither the Order nor the Guidance attempt to provide a logical basis for the requirement that

“two” regulations be repealed, as opposed to one or three or any other number.

      54.   The fact that the societal benefits of a proposed rule far exceed its private costs is

immaterial under the Order; an agency must still offset its cost. Also immaterial are the net

benefits of the rules to be repealed to offset the cost of any new regulation. It follows that the

Order will likely compel rulemaking actions that result in a net loss of benefits to society.

      55.   By its terms, the Order does not apply to regulations related to certain government

functions (military, national security, or foreign affairs); intra-agency administration; or “other

categories” exempted by the OMB guidance. The Order also contains legal disclaimers (“unless

otherwise required by law”) and a statement that it “shall not be construed to impair or otherwise


1
  OMB, Regulatory reform: Two-for-One Status Report and Regulatory Cost Caps, 1-2 (2017)
(hereinafter “Two-for-One Report”), available at
https://mobile.reginfo.gov/public/pdf/eo13771/FINAL_TOPLINE_All_20171207.pdf (last
accessed April 4, 2019).



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affect” an agency’s legal authority. The Guidance issued by the OMB further clarifies that the

Order applies only to “significant” rules 2; does not apply to independent agencies; cannot stop

agencies from issuing statutorily mandated regulations; and cannot force agencies to take cost

into consideration for rules whose underlying laws prohibit it.

      56.   Where an agency is required to issue regulations by statute, the Order acknowledges

that it cannot—and does not—“change the agency’s obligations under [such a] statute.” This

does not, however, relieve the agency of the obligation to eventually offset the cost of the

required regulations.

      57.   Where an agency believes a rule otherwise subject to the Order “qualifies for an

exemption,” the Guidance directs the agency to submit an exemption request to the Office of

Information and Regulatory Affairs (OIRA), prior to submitting the proposed regulation to OMB

for review. The Guidance lists four categories of circumstances under which an exemption may

apply, including that (1) the rule is expressly exempt; (2) there is an emergency; (3) the rule is

statutorily or judicially required; or (4) the rule will have de minimis costs. The Guidance further

notes, “These categories are not exhaustive,” suggesting that an agency may apply for relief on

another basis. The Guidance does not clarify what criteria OMB will consider in determining

whether to grant an exemption.

      58.   Where an agency cannot comply with the Order’s mandates—that is, where it cannot

identify at least two regulations to repeal and/or to fully offset the cost of any new rule—the



2
 As defined by Executive Order 12866 (1993), a “significant” regulatory action is one that (1)
may have an annual economic impact of at least $100 million or adversely affect “in a material
way” the economy, a sector of the economy, productivity, competition, jobs, the environment,
public health or safety, or sub-national governments or communities; (2) be inconsistent with
another agency action; (3) materially alter the budgetary impact of entitlements, grants, user fees,
or loan programs or the rights and obligations of recipients thereof; or (4) raise novel legal or
policy issues.


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Order implicitly prohibits the agency from issuing the rule and/or purports to authorize the OMB

to block the rulemaking. In a required submission to the OMB, agencies are to identify any

regulation that “increases incremental cost” and the existing regulations proposed to offset that

cost. Each regulation approved by the Director shall be included in the Unified Regulatory

Agenda. An agency may not issue a regulation that has not been included in the Unified

Regulatory Agenda or otherwise approved in writing by the Director.

      59.   The Order constitutes a significant departure from the efforts of previous

administrations to cull unnecessary regulations. The majority of past Executive Orders

addressing this issue required agencies to “consider” or analyze the economic impacts of a

proposed rule. Two Orders imposed a mandatory substantive requirement, including Executive

Order 12291 (issued by President Reagan in 1981), which sought to preclude regulatory action

“unless the potential benefits to society … outweigh the potential costs to society,” and

Executive Order 12,861 (issued by President Clinton in 1993), which required executive

departments to “eliminate not less than 50 percent of its civilian internal management regulations

that are not required by law within 3 years.”

      60.   This Order is of an entirely different character. Not only does it direct agencies to

repeal outdated regulations, but it requires that they repeal two regulations, outdated or

otherwise, as a pre-condition to issuing any new one. Where an agency, in its discretion, cannot

or will not repeal two regulations, the Order purports to authorize OMB to prevent the agency

from issuing a new regulation. This Order is also unique in that it focuses solely on the

compliance costs of regulation with no consideration of the corresponding public benefits.

      61.   Neither the Order nor the Guidance provides a mechanism for notifying the public

whether and when a proposed (or possible) regulatory action might be delayed or abandoned due




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to the requirements of the Order. The Guidance further precludes agencies from publicly stating

that the Order was the “basis or rationale, in whole or in part,” for taking or not taking any

regulatory action. The Guidance thus leaves the public in the dark about the actual effect of the

Order on agency rulemaking.

      62.   No constitutional or statutory provision cited by the President in the Order authorizes

him to condition an agency’s ability to exercise its statutory rulemaking authority on the

requirement that it offset the private cost of any new rule by repealing at least two existing rules

and/or consider the cost of the new rule in isolation of its benefits, and no such provision exists.

      63.   The OMB cannot lawfully deny an agency’s request for exemption from this Order

or otherwise prevent an agency from issuing a rule on the basis that the agency has not complied

with the terms of this Order.

      64.   Together, the Order and the Guidance are self-executing in that they represent the

Executive Branch’s final word on the subject, and federal agencies must comply with their

substantive mandates.


VI.   IMPACTS OF THE ORDER AND OMB’S GUIDANCE

      65.   The Order—which was now issued over two years ago—has harmed and will

continue to harm Plaintiff States in that it has the effect of preventing, delaying and/or

discouraging the promulgation of federal regulations that would address important public health

and safety issues and/or environmental concerns with which Plaintiff States are grappling.

      66.   Numerous regulations that were proposed by various federal agencies during the

Obama Administration have not been finalized under the Trump Administration. The failure of

agencies to finalize many of these regulations is attributable to the Order. For example, the

Environmental Protection Agency (EPA) cited the Order as one of the bases for rescinding



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significant portions of its 2017 Accidental Release Prevention Requirements rule. 83 Fed. Reg.

24, 850, 24,873 (May 30, 2018) (“Rescinding these provisions would also allow EPA greater

flexibility to offset the incremental costs associated with other new regulations in accordance

with E.O. 13771”).

      67.   The Administration itself has proclaimed the Order’s effectiveness. Reflecting on

fiscal year 2017, the Administration stated that agencies surpassed the “two-for-one” ratio and in

fact “issued 22 deregulatory actions for every new regulatory action;” that “agencies plan on

achieving even more regulatory rollbacks in FY 2018 compared with FY 2017, and plan to issue

at least three deregulatory actions for every one new regulation;” and that in “this

Administration, agencies have withdrawn or delayed 1,579 planned regulatory actions.” 3

      68.   More recently, the Administration proclaimed that agencies had achieved a 12:1 ratio

of deregulatory to regulatory actions and eliminated $23 billion in regulatory costs, “far

exceeding the $11 billion projected.” 4

     69.    Plaintiff States have been and continued to be harmed by agencies’ withdrawal or

delay of regulatory actions as a result of the Order.


              A.     Specific Harms Resulting from Regulatory Actions (and Inactions)
                     Attributable to the Order

      70.   Many of the proposed regulations that have not been finalized, at least in part as a

result of the Order, address issues that are of critical importance to Plaintiff States. These include

several rules to address energy conservation and GHG emissions and rules to improve vehicle

safety on our nation’s roadways, as discussed below.



3
  https://www.whitehouse.gov/briefings-statements/president-donald-j-trump-delivering-
deregulation/ (last accessed April 2, 2019).
4
  https://www.reginfo.gov/public/do/eAgendaEO13771 (last accessed April 4, 2019).


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                    1.    Rules to Address Energy Conservation and GHG Emissions

      71.   In 2007, the Supreme Court held that Congress, in adopting the Clean Air Act,

intended to create a statute that would adapt to new pollutants and new threats, such as GHG

emissions and the threat of climate change. See Massachusetts, supra, 549 U.S. at. 532.

Previously, in 1975, Congress passed the Energy Policy Conservation Act, which endeavored in

part to reduce energy consumption. These are just two examples of statutes in which Congress

vested substantial authority and responsibility in federal agencies to address pressing matters of

national concern, namely the conservation of energy and the reduction of harmful pollutants.

      72.   Federal agencies’ delay or abandonment of energy efficiency measures is a failure to

address increased energy demand. As energy demands increase, such failures to mandate more

efficient use of energy by regulations will result in Plaintiff States expending greater resources to

meet the demand. For example, Plaintiff States will be required to invest resources in energy

infrastructure that is proportional to energy demand, both to produce energy and to transmit it to

consumers. Regardless of the source, producing and transmitting energy generally poses some

risk of harm to public health, safety, and/or the environment, and additional state resources must

be expended to mitigate these risks. Moreover, inefficient use of energy resources leads to

additional energy costs for consumers and businesses.

      73.   Particularly with respect to fossil fuels, inefficient use of energy resources also leads

to greater emissions of pollutants associated with the production, transmission and burning of

those fuels, including GHGs. In 2009, the EPA found that GHGs endanger public health and

welfare, particularly insofar as they cause and contribute to climate change.

      74.   Evidence that the United States is already experiencing the deleterious impacts of

climate change is overwhelming and incontrovertible. Recently, on November 23, 2018, the

federal government—through the United States Global Climate Research Program (USGCRP), a


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federal program for which EPA is a constituent agency—issued Volume II of the Fourth

National Climate Assessment, a dire, 1,500-page report about the effects of climate change on

the health and welfare of Americans and the United States economy. See USGCRP, Fourth

National Climate Assessment, Volume II: Impacts, Risks, and Adaptation in the United States

(Nov. 23, 2018) (National Assessment). 5 The National Assessment is a comprehensive,

interdisciplinary assessment that represents the executive branch’s best understanding of the

causes and consequences of climate change for the United States. In sum, “[i]t concludes that the

evidence of human-caused climate change is overwhelming and continues to strengthen, that the

impacts of climate change are intensifying across the country, and that climate-related threats to

Americans’ physical, social, and economic well-being are rising.” Id. at 36 (emphasis in

original).

        75.   The National Assessment provides detailed evidence of specific harms climate

change has imposed on the United States. A number of these impacts directly threaten human

health and well-being, particularly populations that are already vulnerable, including “[h]igher

temperatures, increasing air quality risks, more frequent and intense extreme weather and

climate-related events, increases in coastal flooding, disruption of ecosystem services, and other

changes.” Id. at 55.

        76.   Some of the specific harms suffered by Plaintiff States from GHG emissions include:

              a.    increased heat deaths and illnesses due to intensified and prolonged heat

                    waves;




5
    Available at https://nca2018.globalchange.gov/ (last accessed April 4, 2019).


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            b.    increased ground-level ozone pollution, with concomitant increases in asthma,

                  bronchitis, heart disease, and emphysema, as well as coughing, throat

                  irritation, and lung tissue damage;

            c.    beach erosion, temporary and permanent inundation of portions of coastal state

                  property, damage to publicly owned coastal facilities and infrastructure, and

                  salinization of water supplies from accelerated sea level rise;

            d.    more frequent flooding from more severe rains and higher storm surges

                  resulting in property damage and hazard to human safety;

            e.    diminished water supplies and adverse impacts to agriculture due to reduced

                  snowpack and more frequent and severe droughts;

            f.    deaths, property damage, and impairment of air and water quality from

                  increasingly more severe and damaging wildfires;

            g.    additional state emergency-response costs caused by more frequent and intense

                  storm surges, floods, and wildfires; and

            h.    widespread loss of species and biodiversity, including the disappearance of

                  hardwood forests from the northern United States.

      77.   These impacts are inflicting substantial social and economic costs on Plaintiff States.

The adverse health impacts attributable to rising temperatures and diminished air quality impose

a significant burden on state health care systems. Additionally, Plaintiff States have spent and

will continue to spend significant resources addressing threats to critical infrastructure and

preparing for and responding to ever-more-frequent and intense natural disasters.

      78.   In California, drought conditions beginning in 2012 left reservoirs across the state at

record low levels, often no more than a quarter of their capacity. The Sierra snowpack—critical




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to California’s water supply, tourism industry, and hydroelectric power—was the smallest in at

least 500 years. The resulting water cutbacks threatened the livelihoods of farmers and fishermen

alike. In the Central Valley, the drought cost California agriculture about $2.7 billion and more

than 20,000 jobs in 2015 alone. In addition, the drought led to land subsidence, due to reduced

precipitation and increased groundwater pumping, and contributed to the stress on forests

threatened by pest invasions and fire. California has also documented a notable increase in

average daily temperatures, rising sea level and coastal erosion, and an increase in the intensity

and frequency of wildfires, including the worst fire season on record in 2018 (and 2017 before

that).

         79.   As with California, Oregon has experienced the ill-effects of climate change caused

by global warming. It has seen an increase of number, intensity, and duration of wildfires over

the last several decades, and has declared four drought emergencies in Oregon counties in 2018.

Oregon faces increasingly higher temperatures, which results in low snowpack, and

correspondingly lower stream flow. Additionally, Oregon’s coast faces similar risks as

California’s: increased erosion and flooding caused by sea level rise.

         80.   Minnesota has similarly experienced the negative impacts of climate change. In the

Twin Cities from 1951 to 2012, the annual average temperatures increased by 3.2 degrees

Fahrenheit, which was faster than both the national and global rates of increase. Minnesota has

also seen an increase in annual precipitation and severe storms, which has led to sudden and

intense flooding that has severely damaged crops, homes, and businesses. Additionally,

Minnesota has experienced a significant loss of fish habitats for prominent species, such as trout

and walleye, due to the warming of surface waters.




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      81.   Plaintiff States have taken significant measures to reduce their own GHG emissions,

but such efforts do not obviate the need for meaningful reductions on a national scale, nor do

they relieve federal agencies of their statutory responsibilities to address the issue.

      82.   Methane emissions are a particular concern. Methane is 86 times more potent than

carbon dioxide over a 20-year time period. By reducing methane emissions now, we can more

quickly slow or reverse the rate of climate change in the near-term, buying time to develop

adaptive strategies.

      83.   Federal rulemaking in this area has been and will be impacted by the Order. In some

instances, the Administration has sought to delay or repeal existing rules and to shelve proposed

rules that would reduce GHG emissions. For example, while EPA has final regulations to reduce

emissions from municipal solid waste landfills under the Clean Air Act, 6 it has failed to comply

with its duty to implement them and purports to be “reconsidering” them, and EPA included a

stay of the rules on a list of “Completed Deregulatory Actions.” 7 Similarly, while the Bureau of

Land Management (BLM) has a final rule to reduce the waste of methane from the oil and gas

operations, BLM has twice attempted to delay or suspend the regulation, and has classified the

suspension as “deregulatory” for purposes of the Order.

      84.   Yet another example is the Federal Highway Administration’s (FHWA) repeal of the

Greenhouse Gas Performance Measure (GHG Measure) for the national highway system. The

FHWA issued the final GHG Measure on January 18, 2017, and it became effective on February

17, 2017. 82 Fed. Reg. 5,970 (January 18, 2017). Pursuant to the GHG Measure, state

transportation departments were to track on-road GHG emissions within their jurisdictions and



6
 81 Fed. Reg. 59,276 (Aug. 29, 2016); 81 Fed. Reg. 59,332 (Aug. 29, 2016).
7
 See https://www.epa.gov/laws-regulations/epa-deregulatory-actions (last accessed April 4,
2019).


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set locally appropriate targets for GHG emissions on national highways. According to the

FHWA, it adopted the GHG Measure because, by incentivizing the funding of lower-GHG

emitting transportation strategies, the rule would result in reduced national GHG emissions. See,

e.g., 82 Fed. Reg. at 6,001 (anticipating that GHG Measure will influence decision-making and

reduce GHG emissions); id. at 5,996-97 (agreeing that policies to reduce GHG pollution from

transportation, such as the GHG Measure, are “essential to minimize the impacts from climate

change”). But on May 31, 2018, the FHWA published notice of its repeal of the GHG Measure,

stating “The FHWA initiated this rulemaking [to repeal the Measure] after reviewing existing

and pending regulations pursuant to Executive Order 13771 and 13777.” 83 Fed. Reg. 24,920,

24,922 (May 31, 2018).

      85.   The repeal of a rule designed to reduce national GHG emissions and to minimize the

impacts of climate change results in greater GHG emissions and greater climate-change impacts,

which harm the States.

      86.   In other instances, the Administration has failed to follow through with proposed

rules, even after the agencies and stakeholders, including Plaintiff States, have expended

considerable resources in developing them. The agencies’ failures to complete these rulemakings

are attributable to the Order, and the harms these failures cause Plaintiff States are plain. An

example is set forth below.


                    2.    Energy efficiency standards for residential conventional
                          cooking products

      87.   The Energy Policy and Conservation Act (EPCA) authorizes the Department of

Energy (DOE) to set energy conservation standards for various consumer products and certain

commercial and industrial equipment. Pursuant to EPCA, any new or amended energy

conservation standard must be designed to achieve the maximum improvement in energy


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efficiency that is technologically feasible and economically justified, and result in a significant

conservation of energy. 42 U.S.C. § 6295(o)(3)(A) & (B).

      88.   In June 2015, the DOE proposed a rule under the EPCA to amend the energy

efficiency standards for residential conventional cooking products, such as stoves and ovens. 80

Fed. Reg. 33,030 (June 10, 2015). In doing so, the DOE confirmed that the proposed standard

met the statutory criteria, that is, it (1) would result in significant conservation of energy; (2) was

technologically feasible, and (3) was cost effective.

      89.   To establish that the latter criterion was met, the DOE was required to determine that

the standard’s benefits exceeded its costs according to seven specific statutory factors: (1) the

economic impact of the standard on manufacturers and consumers of the products subject to the

standard; (2) the savings in operating costs throughout the estimated average life of the covered

products in the type (or class) compared to any increase in the price, initial charges, or

maintenance expenses for the covered products that are likely to result from the standard; (3) the

total projected amount of energy (or as applicable, water) savings likely to result directly from

the standard; (4) any lessening of the utility or the performance of the covered products likely to

result from the standard; (5) the impact of any lessening of competition, as determined in writing

by the Attorney General, that is likely to result from the standard; (6) the need for national

energy and water conservation; and (7) other factors the Secretary of Energy considers relevant.

42 U.S.C. §§ 6295(o)(2)(B)(i)(I)-(VII); 6313(a)(6)(B)(ii).

      90.   In proposing the rule, the DOE estimated that the lifetime energy savings from

residential conventional cooking products purchased over a 30-year period would amount to 0.76

quadrillion British thermal units (roughly equivalent to the energy consumed by 21 million




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homes in the U.S. in a year), a savings of 5.9 percent relative to the energy use of products in a

no-new-standards case. 81 Fed. Reg. 60,784, 60,787 (September 2, 2016).

      91.   The net benefits of the standard were also significant. The DOE estimated that the

standard would impose an additional $42.6 million in increased equipment costs annually, but

result in a net annual benefit of more than $339 million per year (using a seven percent discount

rate). 81 Fed. Reg. at 60,789. This annualized net benefit included more than $293 million in

energy-bill savings for consumers, and more than $88 million in reduced air pollution benefits.

(Using a three percent discount rate, annualized net benefits would be $429 million.)

      92.   These benefits included significant savings associated with reduced GHG emissions,

including reduced carbon dioxide emissions (associated with the decrease in energy needed to

power electrical appliances) and reduced methane emissions (associated with decreased natural

gas consumption for gas appliances). By increasing the energy efficiency standard (i.e., reducing

the energy consumption) of the subject appliances, the DOE projected that the proposed rule

would reduce total GHG emissions by about 125 million metric tons per year (81 Fed. Reg. at

60,859), equivalent to the annual emissions of more than 26 million cars. Using the Social Cost

of Carbon (a metric developed by a federal interagency working group), the DOE estimated that

the present monetary value of the CO2 emissions reductions alone (not taking into account, for

example, the CO2 equivalent emissions of methane and other GHGs) was $300 million to $4.5

billion. A significant portion of these benefits would have accrued to Plaintiff States in reduced

costs attributable to climate-change impacts.

      93.   In September 2016, DOE issued a supplemental notice of proposed rulemaking. 81

Fed. Reg. at 60,784. DOE was required by statute to publish a final rule no later than two years




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after the original proposal—that is, by June 2017. 42 U.S.C. § 6295(m)(3)(A). To date, it has not

done so.

      94.   In the Fall 2017 edition of the Unified Agenda, the DOE reported that the proposed

rule is “Major,” “Economically Significant,” and subject to the Order. 8 As such, before the DOE

can finalize the rule—and despite the fact that the rule’s economic benefits outweigh its costs

nine to one—the DOE must identify for repeal two existing regulations whose regulatory costs

would offset the costs imposed by the rule. In doing so, the DOE would not take into account the

regulatory benefits of the rules identified for repeal (which would almost certainly be greater

than their costs). Were the DOE to complete this exercise—finalizing the rule at issue here and

repealing two existing rules to offset its costs—the cumulative result would likely be a net loss of

regulatory benefits.

      95.   Plaintiff States are generally preempted from imposing energy efficiency standards

for residential conventional cooking products (among other consumer products) that are more

stringent than the existing federal standard. 42 U.S.C. § 6297(b). Plaintiff States may petition for

a waiver of federal preemption for products sold in their states; but, they cannot rely on this as a

option with any certainty. It may apply only in unique circumstances, and in making such a

petition, Plaintiff States must show that there are “unusual and compelling State or

local energy … interests.” 42 U.S.C. § 6297(d).

      96.   Each day the rule is delayed, an additional 342,500 metric tons of GHGs is emitted

into the atmosphere, aggravating the climate change-related harms to Plaintiff States that are

discussed above.




8
 https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=201710&RIN=1904-AD15 (last
visited April 4, 2019).


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      97.   In addition, by failing to impose the highest energy-efficiency standard that that is

technologically feasible and economically justified, as required by law, the DOE is exacerbating

the strain on Plaintiff States’ energy resources and putting public health, safety, and the

environment at risk.


                    3.    Rules to Address Motor Vehicle Safety

      98.   Another example where states themselves cannot fully address an important public

safety issue is in the area vehicle safety. By their very nature, vehicles can and do cross state

lines; thus, even assuming a state were able to require a particular safety feature on vehicles sold

in that state, this would not address vehicles sold elsewhere, and traveling in the state.

Accordingly, states rely on federal standards to more fully address safety concerns. In the

absence of federal safety standards, states will suffer proprietary injuries in the form of increased

health care costs (which they bear for a substantial portion of their population), among other

things.

      99.   The Motor Vehicle Safety Act was enacted “to reduce traffic accidents and deaths

and injuries resulting from traffic accidents.” 49 U.S.C. § 30101. The Act mandates motor

vehicle safety standards that are practicable, meet the need for motor vehicle safety, and are

stated in objective terms. Id. § 30111(a). “Motor vehicle safety standard” means a minimum

performance standard for motor vehicles or motor vehicle equipment. When prescribing such

standards, the National Highway Traffic Safety Administration (NHTSA) must consider all

relevant, available motor vehicle safety information, and whether a proposed standard is

reasonable, practicable, and appropriate for the types of motor vehicles or motor vehicle

equipment for which it is prescribed and the extent to which the standard will further the

statutory purpose of reducing traffic accidents and associated deaths. Id. § 30111(a), (b).



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      100. In pursuit of its statutory mandate, and having carefully considered all of the

required factors, the NHTSA in January 2017 proposed to require all new light vehicles to

include V2V crash-avoidance technologies, which will send information about a vehicle’s speed,

heading, brake status, and other data to surrounding vehicles and receive the same information

from other vehicles. 82 Fed. Reg. 3,854, 3,855–57 (January 12, 2017). When it proposed the

rule, NHTSA claimed that V2V technology “has the potential to revolutionize motor vehicle

safety … [and to] reduce the number and severity of motor vehicle crashes.” Id. at 3,855.

Further, NHTSA expects V2V technology to advance development of vehicle automation. Id. If

finalized, the safety standard will be phased in over time, with costs that change over that period.

      101. The total estimated vehicle costs per year range from $2 to $5 billion ($135–$300

per vehicle). Id. at 3,858. On the benefit side, NHTSA estimated that the technology “could

potentially prevent 424,901–594,569 crashes and save 955–1,321 lives [annually] when fully

deployed throughout the light-duty vehicle fleet.” Id. NHTSA found that net positive benefits

would be realized in 3-5 years, and by 2051, the proposed rule could reduce the costs resulting

from motor vehicle crashes by $53 to $71 billion (expressed in today’s dollars). 82 Fed. Reg. at

3,858-3,859, 4,007.

      102. The benefits of the rule would accrue, in part, to Plaintiff States, considering that

States bear a significant portion of the costs attributable to vehicle crashes. These include costs

associated with health care, emergency response, damage to infrastructure, and lost economic

activity.

      103. Despite the net benefits to society, including benefits to Plaintiff States and their

citizens, the DOT will not be able to promulgate this safety standard without repealing two or

more existing regulations that impose equivalent or greater costs. (Though it does not matter if




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the costs of the repealed rules are borne by entities other than the entities that will bear the costs

of the new rule.)

      104. In proposing the V2V rule, NHTSA stated, “Without a mandate to require and

standardize V2V communications, the agency believes that manufacturers will not be able to

move forward in an efficient way and that a critical mass of equipped vehicles would take many

years to develop, if ever.” 82 Fed. Reg. at 3,854.

      105. Promulgation of the rule has been delayed or abandoned as a result of the Order. In

February 2017—shortly after the Order was issued—DOT stated, “As DOT rulemaking priorities

are being evaluated in accordance with Executive Order 13771, the schedules for many ongoing

rulemakings are still to be determined, so we will not post an Internet Report for the month of

February.” This entry was repeated for the months of March through July 2017. 9 Later, DOT

moved this rulemaking from its “current agenda” to its list of “long term actions,” listing the next

action as “Undetermined” on a date “To Be Determined.”

      106. It would take years for the NHTSA to aggregate cost-savings sufficient to offset the

cost of the proposed V2V rule, thus to issue the rule in compliance with the Order. Meanwhile, it

could issue no other regulation and would have to focus exclusively on deregulatory actions to

generate the necessary cost-savings.

      107. During this delay, the Plaintiff States are deprived of the benefits identified in the

proposed rule, and will incur costs associated with the additional demand on their health care and

emergency-response systems, among other harms.




9
  See DOT, Significant Rulemaking Reports by Year, https://cms.dot.gov/regulations/significant-
rulemaking-report-archive (last accessed April 4, 2019).


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                    4.    Deregulatory Actions

      108. Agencies have also taken deregulatory actions to accrue cost savings for purposes of

complying with the Order. Such deregulatory actions are often taken without regard for the

significant public benefits provided by the regulations at issue. One example is the Department

of Health and Human Services’ recent notice of proposed rulemaking (NPRM) to remove the

“service duration requirements” for Head Start preschool programs. These requirements would

have increased the scope of services Head Start programs are required to provide to low income

children, including both the number of hours per day and the number of days per year.

      109. The service duration requirements were set forth in the Head Start Performance

Standards, a rule the HHS finalized in 2016. 81 Fed. Reg. 61,294 (September 6, 2016). In

promulgating the service duration requirements, the HHS cited extensive research

(approximately twenty studies) showing, among other things, “the importance of longer

preschool duration in achieving meaningful child outcomes and preparing children for success in

school. Shorter preschool programs may not have as much time to adequately support strong

early learning outcomes for children and provide necessary comprehensive services.” Id. at

61,304. The HHS also noted that the final rule was responsive to the many public comments the

agency received, and that it reflected concerns about maintaining local flexibility. Id.

      110. In a March 26, 2019, notice of proposed rulemaking, HHS did an about-face,

proposing to remove the service duration requirements from the Head Start Performance

Standards. 84 Fed. Reg. 11,269. Therein, HHS stated that, in reviewing the Standards, it had

identified the service duration requirements as a “provision that could interfere with how local

programs determine what works best for their communities,” and that it would “impose a high

cost on providers and result in fewer children being served in the Head Start program,” concerns




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that the agency had thoroughly considered and addressed when it promulgated the Standards in

the first place.

      111. The NPRM notes that the proposed rule, if finalized, would be “an E.O. 13771

deregulatory action.” Id. at 11,272. It estimates that the net cost savings associated with the

proposed deregulatory action is $6.78 million (FY16 dollars) by 2020-21 (when the service

duration requirements would have been required to be fully implemented). Id. at 11,274. The

majority of these costs were attributed to “planning time” for program directors and managers.

      112. Plaintiff States are harmed by HHS’ deregulatory action. To the extent the goals of

the service duration requirements were to improve child outcomes and promote greater success

in school for low-income families, those goals are undermined. This imposes an added burden on

Plaintiff States to provide ongoing educational support services for vulnerable children deprived

of such benefits at a critical time in their early development.


               B.   Other Impacts of the Order on Plaintiff States

      113. The number of present and future agency actions and inactions potentially predicated

on this Order are myriad and diverse. The existence of this unlawful Order calls into question the

lawfulness of agencies’ decisions to repeal regulations as well as their inaction on any new

regulation. That, in turn, places an additional burden on Plaintiff States to: (1) review agencies’

actions and to identify failures to act, to determine if a legal challenge is appropriate; (2)

determine whether to invest resources in developing and issuing their own rules to fill the

regulatory vacuum; or (3) shoulder the burden of lost public health and environmental benefits

resulting from agencies repeal or foregoing of regulation.

      114. Collectively, Plaintiff States have already expended significant resources challenging

discrete agency actions taken pursuant to the Order. These include unlawful actions to delay or



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suspend validly promulgated regulations. For example, one or more Plaintiff States are

challenging EPA’s failure to implement and enforce final regulations that seek to reduce

emissions from municipal solid waste landfills under the Clean Air Act, as well as the

Department of the Interior’s unlawful “suspension” of regulations to reduce methane emissions

from the oil and gas sector.

      115. Plaintiff States have also expended significant resources working to determine the

precise effect of the Order on rulemaking, including conducting searches of public databases for

information regarding the bases for various agency actions or inactions.

      116. Federal agencies are diverting significant resources to comply with the Order, to the

detriment of their ability to implement and enforce regulations to protect public health and

safety, among other things.

                                   FIRST CAUSE OF ACTION

                          (Violation of Separation of Powers Doctrine)
                                    (Against All Defendants)

      117. The foregoing allegations are re-alleged herein by reference.

      118. The President’s powers are limited to those specifically conferred on him by the

Constitution and federal statutes, and do not include any undefined residual or inherent power.

      119. Agencies, including the Agency Defendants, derive their rulemaking authority from

statutes enacted by Congress, which prescribe the manner in which agencies are to regulate.

      120. No constitutional or statutory provision authorizes the President to condition an

agency’s ability to exercise its statutory rulemaking authority on the requirement that it offset the

private cost of any new rule by repealing at least two existing rules and/or consider the cost of

the new rule in isolation of its benefits.




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      121. Any instance where the President, by Executive Order or otherwise, directs an

agency to take an action that runs afoul of a statute or the legislative intent of Congress is a

violation of the Separation of Powers doctrine.

      122. The Order directs federal agencies to take actions that would violate Constitutional

and statutory mandates, or otherwise run afoul of Congressional intent in several respects:

            a.    In promulgating a rule, an agency may not consider factors other than those

      Congress intended it to consider, as articulated in the enabling statute(s) and the APA. No

      statute authorizes an agency, in promulgating a new regulation, to consider the costs of

      other regulations issued in the same fiscal year or of regulations issued in prior years when

      determining whether to take regulatory action. Nor does any statute authorize federal

      agencies to condition issuance of a new regulation on the repeal of existing regulations to

      offset the new regulation’s cost. The Order thus requires agencies to act in contravention of

      statutory authority.

            b.    The APA directs a reviewing court to set aside any agency action that is

      arbitrary and capricious. 5 U.S.C. § 706(2)(A). The Order requires an agency, in issuing a

      new rule, to consider factors (a) that Congress did not intend for it to consider; (b) that

      have no nexus to the substantive merit of the proposed rule; and/or (c) for which neither

      the Order nor the Guidance provide any logical basis, among other things. The Order thus

      requires an agency, in promulgating a new regulation, to act in a manner that is inherently

      arbitrary and capricious, subjecting the regulation to mandatory set-aside under the APA.

            c.    Congress often grants agencies discretion to determine whether action is

      warranted to fulfill their statutory mandates. This discretion may be general, as where the

      legislature directs an agency to “prescribe such other rules as may be necessary and




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      appropriate to carry out the purposes” of a given statute (see, e.g., 26 U.S.C. § 989(c)

      (Secretary of the Treasury)), or specific, as where the Clean Air Act directs EPA to

      “review, and revise as necessary” standards for emission of hazardous air pollutants. 42

      U.S.C. 7412(d)(6). The basis for this discretion (and, often, the basis for judicial deference

      to the agency’s action on review) is the agency’s deep expertise in a given area. The Order

      impermissibly commandeers an agency’s discretionary authority by requiring that, instead

      of making decisions on the basis of its expertise and judgment, it act instead to fulfill

      arbitrary and irrelevant substantive requirements not set forth in the governing statute(s).

            d.    Many existing mandates direct agencies to weigh the relative costs and benefits

      of a proposed regulation before promulgating it, consistent with agencies’ statutory duty to

      be logical and rational in their rulemaking. The Order imposes a cost analysis that requires

      an agency to consider the cost of a proposed regulation in relation not to that regulation’s

      expected benefits, but to the costs of existing regulations in the agency’s regulatory

      portfolio, shifting the regulatory focus from maximizing the net societal benefits of

      regulations to minimizing the private costs, in contravention of agencies’ statutory duty.

            e.    An agency cannot take steps to comply with the Order (including considering

      the Order’s mandates in any decision to propose, issue, or repeal a rule, or to revise or

      delay a proposed rule) without violating the agency’s enabling statutes or the APA. In

      complying with the Order, each of the Agency Defendants has violated the statute(s) that

      provide its congressionally mandated purpose and authority, as well as the APA. No

      judicial deference would be due an agency action taken under influence of the Order.

      123. This court is authorized to enjoin any action by the Executive that “is unauthorized

by statute, exceeds the scope of constitutional authority, or is pursuant to unconstitutional




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enactment.” Youngstown Sheet & Tube Co. v. Sawyer, 103 F.Supp. 569 (D.D.C. 1952), aff’d, 343

U.S. 579 (1952).

      124. Plaintiff States are irreparably harmed by the President’s violation of the Separation

of Powers doctrine insofar as the Order has caused and will cause the delay or abandonment of

numerous federal regulations that would otherwise safeguard the health and well-being of

Plaintiff States’ citizens, natural resources, infrastructure, institutions, and economies, among

other things.

      125. By declaring the Order unlawful and setting it aside, this Court can redress this

injury.


                                 SECOND CAUSE OF ACTION

                                (Violation of Take Care Clause)
                             (Against Defendant President Trump)

      126. The foregoing allegations are re-alleged herein by reference.

      127. The President has a constitutional duty to “take care that the laws be faithfully

executed.” U.S. Const., art. II, § 3. The Take Care Clause is violated where executive action

undermines statutes enacted by Congress and signed into law.

      128. The Order undermines the APA and those statutes that direct, authorize, or otherwise

enable an agency to exercise discretion to achieve certain legislative goals.

      129. The stated purpose of the Order is to manage the private costs of complying with

federal regulations. By requiring agencies to make cost a primary concern of any regulatory

action, without regard for the countervailing societal benefits, the Order subjugates legislative

goals related to public health, safety, and the environment to the interests of regulated entities.

      130. The President’s action issuing the Order thus violates the Take Care Clause.




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      131. This Court is authorized to enjoin any action by the Executive that “is unauthorized

by statute, exceeds the scope of constitutional authority, or is pursuant to unconstitutional

enactment.” Youngstown Sheet & Tube Co. v. Sawyer, 103 F.Supp. 569 (D.D.C. 1952), aff’d, 343

U.S. 579 (1952).

      132. Plaintiff States are irreparably harmed by the President’s violation of the Take Care

Clause insofar as the Order causes the delay or abandonment of federal regulations that would

otherwise safeguard the health and well-being of Plaintiff States’ citizens, natural resources,

infrastructure, institutions, and economies, among other things.

      133. By declaring the Order unlawful and setting it aside, this Court can redress this

injury.


                                  THIRD CAUSE OF ACTION

                                       (Ultra Vires action)
                                     (Against All Defendants)

      134. The foregoing allegations are re-alleged herein by reference.

      135. Neither the President nor an agency can take any action that exceeds the scope of

their constitutional and/or statutory authority.

      136. The Order and Guidance purport to prohibit agency rulemaking not in compliance

with the Order and/or to authorize the OMB to reject or disapprove any proposed regulation

where the agency has not complied with the Order’s substantive requirements.

      137. No authority—constitutional, statutory or otherwise—authorizes the President or the

OMB to condition an agency’s ability to exercise its statutory rulemaking authority on the

requirement that it offset the private cost of any new rule by repealing at least two existing rules

and/or consider the cost of the new rule in isolation of its benefits.




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      138. By issuing the Order and the Guidance, the President and the Director of the OMB,

respectively, have acted outside the scope of their constitutional and statutory authority.

      139. Any action taken by the OMB to enforce the Order or to otherwise preclude an

agency from issuing a regulation on the basis that it has not complied with the Order would

similarly be ultra vires.

      140. Executive agencies, including the Agency Defendants, are not authorized to delay,

weaken, or forgo new regulations based on whether they can repeal two or more existing

regulations to offset the new costs or to satisfy an annual cost cap. The Agency Defendants

cannot implement the Order without violating the statutes from which they derive their

rulemaking authority, and the APA. In complying with the Order each of the Agency

Defendants has violated its statutory authority created by Congress.

      141. The APA authorizes challenges to “final agency action for which there is no other

adequate remedy in a court.” 5 U.S.C. § 704.

      142. The Agency Defendants are agencies under the APA. 5 U.S.C. § 551(1).

      143. This court is authorized to enjoin any action by the Executive that “is unauthorized

by statute, exceeds the scope of constitutional authority, or is pursuant to unconstitutional

enactment.” Youngstown Sheet & Tube Co. v. Sawyer, 103 F.Supp. 569 (D.D.C. 1952), aff’d, 343

U.S. 579 (1952).

      144. Plaintiff States have an interest in ensuring that the federal government, and each

branch of it, acts within the defined bounds of its constitutional authority. Plaintiff States also

have a legal right not to be injured by ultra vires executive action.

      145. Plaintiff States are irreparably harmed by these ultra vires actions insofar as the

Order causes the delay or abandonment of federal regulations that would otherwise safeguard the




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health and well-being of Plaintiff States’ citizens, natural resources, infrastructure, institutions,

and economies, among other things.

      146. By declaring the Order and Guidance unlawful and setting them aside, this Court can

redress this injury.


                                 FOURTH CAUSE OF ACTION

                                      (Violation of the APA)
                                     (Against All Defendants)

      147. The foregoing allegations are re-alleged herein by reference.

      148. The APA requires this Court to “hold unlawful and set aside agency action, findings,

and conclusions found to be … arbitrary, capricious, an abuse of discretion, otherwise not in

accordance with law; contrary to constitutional right, power, privilege, or immunity; or in excess

of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706.

      149. Agency Defendants are agencies under the APA. 5 U.S.C. § 551(1).

      150. The OMB issued Guidance to assist agencies in complying with the Order.

      151. Together, the Order and the Guidance represent the Executive Branch’s final word

on the subject, and purport to be binding on federal agencies, which must now comply with its

dictates. As such, the Guidance constitutes a final “agency action” and is subject to review under

the APA. 5 U.S.C. §§ 551(1), (13), 704.

      152. The Guidance assists agencies in complying with the Order’s directive to repeal two

regulations for each new regulation they promulgate and to ensure that the total “incremental

cost” of all new and repealed regulations is no greater than zero. These are substantive

requirements that have no nexus to the substance of the rulemaking and thus are arbitrary and

capricious.




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        153. For the OMB to preclude an agency from issuing a rule otherwise authorized by

statute on the bases that the agency has not repealed two existing regulations or that the agency

has not offset the cost of the proposed rule is inherently arbitrary and capricious.

        154. In issuing and enforcing the Guidance, the OMB has acted in a manner that is

arbitrary, capricious, otherwise not in accordance with law; contrary to constitutional right,

power, privilege, or immunity; or in excess of statutory jurisdiction, authority, or limitations,

and/or short of statutory right, in violation of the APA. 5 U.S.C. § 706.

        155. Agency Defendants have implemented and continue to implement the Order. In

taking action to comply with the Order, the Agency Defendants have acted in a manner that is

arbitrary, capricious, otherwise not in accordance with law; contrary to constitutional right,

power, privilege, or immunity; or in excess of statutory jurisdiction, authority, or limitations,

and/or short of statutory right, in violation of the APA. 5 U.S.C. § 706.

        156. Plaintiff States are irreparably harmed by Agency Defendants violations of the APA

insofar as the Order causes the delay or abandonment of federal regulations that would otherwise

safeguard the health and well-being of Plaintiff States’ citizens, natural resources, infrastructure,

institutions, and economies, among other things.

        157. By declaring the Guidance unlawful and setting it aside, this Court can redress this

injury.


                                     PRAYER FOR RELIEF


        WHEREFORE, Plaintiff States respectfully request that this Court:

        1.    Issue a declaratory judgment that the Order and the Guidance are unlawful on their

face;




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     2.    Issue a declaratory judgment that Defendants exceeded their authority in issuing the

Order and the Guidance;

     3.    Issue a mandatory injunction compelling Defendants President Trump and OMB to

set aside the Order and the Guidance;

     4.    Issue a mandatory injunction enjoining federal agencies from taking action to

comply with the Order and the Guidance;

     5.    Award Plaintiff States their costs, expenses, and reasonable attorneys’ fees; and

     6.    Award such other relief as the Court deems just and proper.



 Dated: April 4, 2019                          Respectfully submitted,

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